            Case 2:10-cr-00435-KJM Document 21 Filed 10/19/10 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar #89424
     Federal Defender
 2   COURTNEY FEIN, #244785
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorneys for the Defendant
     REBECCA STONEKING
 6
                         IN THE UNITED STATES DISTRICT COURT
 7
                       FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,           )   Case No. Cr. S. 10-435-FCD
                                         )
10                Plaintiff,             )   APPLICATION AND ORDER FOR
                                         )   TRANSPORTATION AND SUBSISTENCE
11    v.                                 )   PURSUANT TO 18 U.S.C. § 4285
                                         )
12   REBECCA LYNN STONEKING              )
                                         )
13                Defendant.             )   Judge: Hon. Gregory G. Hollows
                                         )
14   _____________________________       )
15
16         Defendant REBECCA LYNN STONEKING hereby requests an order for
17   transportation and subsistence costs pursuant to 18 U.S.C. § 4285.
18         Ms. Stoneking was unable to afford her own transportation from her
19   arraignment hearing in the Eastern District of California, on October
20   13, 2010, in Sacramento, California to her mother’s residence in
21   Victorville, California.     Ms. Stoneking’s pretrial release was
22   conditioned on her residing with her mother and participating in
23   residential treatment.
24   //
25   //
26
27
28
           Case 2:10-cr-00435-KJM Document 21 Filed 10/19/10 Page 2 of 3


 1        The Court indicated at the hearing that it would authorize the
 2   Marshals to pay for Ms. Stoneking’s transportation.         This Order is
 3   necessary to allow the Marshals to do so.
 4   DATED: October 19, 2010                Respectfully submitted,
 5                                          DANIEL J. BRODERICK
                                            Federal Defender
 6
                                            /s/ C. Fein
 7                                          ________________________________
                                            COURTNEY FEIN
 8                                          Attorney for Defendant
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28                                          2
              Case 2:10-cr-00435-KJM Document 21 Filed 10/19/10 Page 3 of 3


 1
                             IN THE UNITED STATES DISTRICT COURT
 2
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
 4   UNITED STATES OF AMERICA,     )          Case No. Cr. S. 10-435-FCD
                                   )
 5               Plaintiff,        )
                                   )          ORDER FOR TRANSPORTATION AND
 6        v.                       )          SUBSISTENCE
                                   )
 7   REBECCA STONEKING,            )
                                   )
 8               Defendant.        )
                                   )
 9   ______________________________)
10   TO:   UNITED STATES MARSHAL SERVICE, SACRAMENTO, CALIFORNIA:
11         This is to authorize and direct you to furnish the above named
12   defendant, REBECCA STONEKING, with transportation and subsistence
13   expenses for travel from her arraignment hearing in Sacramento,
14   California for the Eastern District of California to her mother’s
15   residence in Victorville, California.
16   IT IS SO ORDERED.
17   Dated:     October 19 , 2010                    /s/ Gregory G. Hollows
18                                                  GREGORY G. HOLLOWS
                                                    U.S. Magistrate Judge
19
20
21
22
23
24
25
26
27
28   Stoneking - Transportation Order          3
